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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )            4:05CR3025
                                             )
              Plaintiff,                     )
                                             )            MEMORANDUM
vs.                                          )            AND ORDER
                                             )
SOKHA KEO & LILLIAN RUIZ,                    )
                                             )
              Defendants.                    )

       This matter comes on to consider Defendant Ruiz’s motion to continue trial. There
being no objection by the government,

       IT IS ORDERED that:

       (1)    Defendant Ruiz’s motion to continue trial (filing 101) is granted.

       (2)    Trial of this case as to Defendants Keo and Ruiz is continued to 9:00 a.m.,
Monday, December 19, 2005, before the undersigned United States district judge, as the
number one criminal case, in Lincoln, Nebraska. Since this is a criminal case, the defendant
shall be present unless excused by the court.

      (3)    The time between today’s date and the new trial date is excluded under the
Speedy Trial Act and in the interest of justice. See 18 U.S.C. § 3161(h)(1)(I)& (h)(8)(A)(B).

       October 31, 2005.                          BY THE COURT:

                                                  s/ Richard G. Kopf
                                                  United States District Judge
